

Matter of Jennings (2018 NY Slip Op 05656)





Matter of Jennings


2018 NY Slip Op 05656


Decided on August 2, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 2, 2018


[*1]In the Matter of SAMUEL ALLAGASH JENNINGS, an Attorney. (Attorney Registration No. 4798393)

Calendar Date: July 23, 2018

Before: McCarthy, J.P., Lynch, Mulvey, Aarons and Pritzker, JJ.


Samuel Allagash Jennings, New Ashford, Massachusetts,
pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Samuel Allagash Jennings was admitted to practice by this Court in 2010 and lists a business address in Boston, Massachusetts with the Office of Court Administration. Jennings now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Jennings is presently delinquent in his New York attorney registration requirements, having failed to register for three consecutive biennial periods beginning in 2014 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Jennings is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Jennings must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
McCarthy, J.P., Lynch, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Samuel Allagash Jennings's application for permission to resign is denied.








